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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-10008-CR-MARTINEZ

UNITED STATES OF AMERICA

               Plaintiff,

v.

MYKHAYLO CHUGAY,

              Defendant.
                                                 /

                                 ORDER ON INITIAL APPEARANCE

               The above-named Defendant having been arrested on August 17, 2021, having appeared before
the court for an initial appearance on August 17, 2021, and proceedings having been held in accordance with
Fed.R.Crim.P. 5 or 40(a), it is thereupon ORDERED as follows:
               1.                                                          appeared as permanent/temporary
counsel of record.
               2. ________________________________ is appointed as permanent counsel of record.
               3. The Defendant shall attempt to retain counsel and shall appear before the court at
11:00 a.m. on August 19, 2021 before Magistrate Judge Lurana S. Snow in Key West,Florida.
               4. Arraignment is set for August 20, 2021 at 11:00 a.m. in Key West, Florida before
Magistrate Judge Lurana S. Snow.
               5. The Defendant is held in temporary pretrial detention pursuant to 18 U.S.C. § 3142 (d) or
(f) because                                                                                           .
A Detention hearing, pursuant to 18 U.S.C. § 3142(f), is set for August 20, 2021 at 11:00 a.m. before
Magistrate Judge Lurana S. Snow in Key West, Florida.
               6. The Defendant shall be released from custody upon the posting of the following type of
appearance bond, pursuant to 18 U.S.C. § 3142:
                                                                                . This bond shall contain the
standard conditions of bond printed in the bond form of this Court and, in addition, the Defendant must comply
with the special conditions checked below:
     a. Surrender all passports and travel documents within 24 hours to the U.S. Probation Office and
        do not obtain any passports and/or travel documents.
     b. Report to U.S. Probation as follows:
             as directed;
             times a week /month by phone,
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              times a week/month            in person;
               other:

       c. Submit to random urine testing by U.S. Probation for the use of
          non-physician-prescribed substances prohibited by law.
      d. Maintain or actively seek full time gainful employment.
      e. Maintain or begin an educational program.
      f. Avoid all contact with victims of or witnesses to the crimes charged, except through counsel.
      g. Refrain from possessing a firearm, destructive device or other dangerous weapon.
      h. Comply with the following curfew:
      i. Do not go to any commercial transportation establishments; airports, seaport/marinas,
         commercial bus terminals, train stations, etc.
      j. Do not go on any boat or by any marina.
____ k. None of the signatories may sell, pledge, mortgage, hypothecate, encumber, etc., any real property
they own until the bond is discharged, or otherwise modified by the Court;
      l. Comply with the following additional special conditions of this bond:
                                                                                                     Bond
was set: Initial Appearance
                 At Arrest
                 On Warrant
                 After Hearing
If bond is changed from that set in another District, the reason pursuant to Rule 40(f) is


          If this space is checked, an evidentiary hearing pursuant to United States v. Nebbia, 357, F.2d 303
(2 Cir. 1966) shall be held prior to the posting of the bond. Such hearing shall be scheduled promptly upon
notification to the court that the Defendant is ready to post bond.
                  7. The Defendant has been advised by the court that if he or she is released on bond
pursuant to the conditions set forth herein or those later ordered by the court, the Defendant is subject to
arrest and revocation of release and to various civil and criminal sanctions for any violation of those
conditions. These various sanctions and penalties are set forth more fully in the Appearance Bond itself.
                8. The Defendant is committed to the custody of the United States Marshal until an
appearance bond has been executed in accordance with this or subsequent court order.
                DONE AND ORDERED at Key West, Florida this 17th day of August, 2021.




Copies to:


All Counsel of Record

U. S. Probation (KW)




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